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AO 136 (Rev. 10/13) Certificate of Good Standing



                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                      __________   District of __________
                                                           District of Minnesota

                                             CERTIFICATE OF GOOD STANDING




          I,                                               Kate M. Fogarty                                    , Clerk of this Court,


certify that                               David A Goodwin                         , Bar #                 386715                    ,


was duly admitted to practice in this Court on                        07/17/2008             , and is in good standing as a member


of the Bar of this Court.


Dated at                                      Minneapolis, MN                          on                03/16/2022
                                                   (Location)                                               (Date)




                            Kate M. Fogarty
                                   CLERK                                                       DEPUTY CLERK
